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                                                                                       June 29, 2022

                                                                                 CLERK, U.S. DISTRICT COURT
                                                                                 WESTERN SDEISTARCLICRET DOF TEXAS
SEALED                                                                               By:
                              UNITED STATES DISTRICT COURT                                                 Deputy
                               WESTERN DISTRICT OF TEXAS
                                    DEL Rio
                                    Del RIO DIVISION                         DR:22-CR-01449-AM


UNITED STATES OF AMERICA                          §       Cause No.:
                                                  §
                                                  §       INDICTMENT
v.                                                §
                                                  §
                                                  §       922(g)(1) &   924(a)(2), Felon inPossession of a Firearm
TERRY DEAN ANDERSON, JR.                          §
                                                  §
                                                  §       FORFEITURE



THE GRAND JURY CHARGES:

                                          COUNT ONE
                                [18 U.S.C. §§ 922(g)(1) & 924(a)(2)]

                                                                             Defendant,

                                 TERRY DEAN ANDERSON JR.,

knowing that he had been convicted of a crime punishable by imprisonment for a term exceeding

one year, did knowingly possess in and affecting interstate commerce a firearm, to wit: a Smith

and Wesson model Sigma SW40VE .40 caliber pistol (Serial Number: DYH6862), said firearm

having been transported in interstate commerce, in violation of Title 18, United States Code,

Sections 922(g)(1) and 924(a)(2).

      NOTICE OF UNITED STATES OF AMERICA'S DEMAND FOR FORFEITURE
                          [See FED. R. CRIM. P. 32.2]

                                                  I.
                            Firearms Violation and Forfeiture Statutes
     [Title 18 U.S.C. § 922(g)(1) subject to forfeiture pursuant to Title 18 U.S.C. § 924(d)(1),
                made applicable to criminal forfeiture by Title 28 U.S.C. § 2461(c)]

         As a result of the criminal violation set forth in Count One, the United States of America
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gives notice to the Defendant of its intent to seek the forfeiture of property, including any items

listed below, upon conviction and as a part of sentence pursuant to Fed. R. Crim. P. 32.2 and Title

18 U.S.C. § 924(d)(1), made applicable to criminal forfeiture pursuant to Title 28 U.S.C. § 2461(c),

which states the following:

      Title 18 U.S.C. § 924. Penalties
          (d)(1) Any firearm or ammunition involved in or used in any knowing violation of
          subsection . . . (g) . . . of section 922, . . . shall be subject to seizure and forfeiture . . .
          under the provisions of this chapter .......

This Notice of Demand for Forfeiture includes but is not limited to the following properties.

      1. Smith and Wesson, model Sigma SW40VE, .40 caliber pistol, s/n DYH6862; and
      2. Any related ammunition and firearm accessories.




ASHLEY C. HOFF
United States Attorney

By:
      Alexander Brown
      Assistant United States Attorney
